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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                       Eastern Division

 ROBERT S. ABRAMS and A.
 ENTERPRISES, LLC

             Plaintiffs,
                                                        Civil No.
        v.

 THOMAS STRUENGMANN,
                                                        ON REMOVAL FROM THE
 ATHOS SERVICE GmbH, YVES
 STEFFEN, ANDREAS BIAGOSCH,                             CIRCUIT COURT OF LEE
 PATIRO HOLDING AG, SANTO                               COUNTY, ALABAMA, CASE
 HOLDING AG, and FICTITIOUS                             NO. CV-2024-184
 DEFENDANTS R-Z


             Defendants.

                             DECLARATION OF ROBERT T. SMITH

I, Robert T. Smith, hereby declare, in accordance with 28 U.S.C. § 1746, as follows:

       1.       I am a Partner at the law firm of Katten Muchin Rosenman LLP and counsel for

Defendants Patiro Holding AG and Santo Holding AG. I submit this Declaration in support of

Defendants Patiro Holding AG and Santo Holding AG’s Notice of Removal (the “Notice of

Removal”).

       2.       On or around June 24, 2024, a copy of the Complaint in the above-captioned action

and Summons were mailed to the Central Authority of the Federal State of Bayern, Germany, for

service on Thomas Strüngmann, as allowed by the Hague Convention. See Notice of Removal

Exh. 2 at 28-29. To the best of my knowledge, Mr. Strüngmann has not yet been served with the

Complaint.

       3.       On or around July 9, 2024, a copy of the Complaint in the above-captioned action

and Summons were mailed to the Department federal de Justice et Police in Switzerland, to be

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forwarded to the appropriate Central Authority in Switzerland for service on Defendant Patiro

Holding AG, as allowed by the Hague Convention. See Notice of Removal Exh. 2 at 41. According

to the Confirmation of Receipt attached hereto as Exhibit A, service was accomplished on August

2, 2024.

       4.      On or around July 9, 2024, a copy of the Complaint in the above-captioned action

and Summons were mailed to the Department federal de Justice et Police in Switzerland, to be

forwarded to the appropriate Central Authority in Switzerland for service on Defendant Santo

Holding AG, as allowed by the Hague Convention. See Notice of Removal Exh. 2 at 55. According

to the Confirmation of Receipt attached hereto as Exhibit B, service was accomplished on August

2, 2024.

       5.      On or around July 9, 2024, a copy of the Complaint in the above-captioned action

and Summons were mailed to the Department federal de Justice et Police in Switzerland, to be

forwarded to the appropriate Central Authority in Switzerland for service on Defendant Yves

Steffen. See Notice of Removal Exh. 2 at 47-48. The Complaint and Summons were returned on

or around July 29, 2024, for Non-Service. See Notice of Removal Exh. 2 at 62. Thus, Defendant

Steffen has not yet been successfully served.

       6.      To the best of my knowledge, Defendants Athos Service GmbH and Andreas

Biagosch have not yet been served with the Complaint, and there are no filings in the State Court

Action (as defined in the Notice of Removal) suggesting service has been attempted.

       7.      Counsel for Defendants Patiro Holding AG and Santo Holding AG contacted

counsel for Plaintiffs on the morning of August 29, 2024 in order to confirm the members of A.

Enterprises, LLC (“A. Enterprises”). Counsel for Plaintiffs stated that he believed Robert S.

Abrams was the sole member of A. Enterprises and reiterated that belief, but he planned to provide



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confirmation to counsel for Defendants. As of the filing of the Notice of Removal, Plaintiffs’

counsel had not yet provided that confirmation.

       8.       In a further effort to determine the members of A. Enterprises, counsel for

Defendants reviewed publicly available information on the Secretary of State websites for both

Alabama and Delaware. The information available on the Alabama Secretary of State’s website

regarding A. Enterprises, LLC is attached hereto as Exhibit C. The Application for Registration of

a Foreign Limited Liability Company (LLC) included therein indicates that Robert S. Abrams is

the Manager of A. Enterprises, LLC, but provides no information on its members. See Exh. C at

4. The information available on the Delaware Secretary of State’s website regarding A.

Enterprises, LLC is attached hereto as Exhibit D. No information on the members of A.

Enterprises, LLC is provided therein.

       9.       That said, in connection with the Chapter 11 cases referenced in the Complaint, In

re SiO2 Medical Products, Inc. et al., Case No. 23-10366 (JTD) (Bankr. D. Del.), Plaintiff Robert

S. Abrams filed a Declaration in Support of a Motion for Entry of an Order Directing the

Appointment of an Examiner. See Exhibit E, attached hereto. As stated therein, Robert S. Abrams

“control[s] A. Enterprises, LLC.” Id. ¶ 4.

       10.      Thus, based on the information available to counsel for Defendants, Robert S.

Abrams appears to be the sole member of A. Enterprises, LLC. Counsel for Defendants intend to

issue Interrogatories to Plaintiffs regarding the identifies and domiciles of the members of A.

Enterprises as soon as permissible under Federal Rule of Civil Procedure 26(d)—unless that

information is provided via Plaintiff’s Rule 7.1 Disclosure Statement prior to the commencement

of discovery.




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      I declare under penalty of perjury that the foregoing is true and correct.



Dated: August 29, 2024                      /s/ Robert T. Smith
                                            Robert T. Smith
                                            Katten Muchin Rosenman LLP
                                            1919 Pennsylvania Ave NW, Suite 800
                                            Washington, D.C. 20006




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